 
      Case: 1:18-cv-00566 Document #: 7 Filed: 01/29/18 Page 1 of 1 PageID #:33



                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Surfside Non-Surgical Orthopedics
,

Plaintiff(s),
                                                       Case No. 18-cv-0566
v.                                                     Judge Sara L. Ellis

Allscripts Healthcare Solutions Inc,

Defendant(s).

                                             ORDER

Motion by Joel Robert Rhine for leave to appear pro hac vice [4] is granted. The initial status
conference in this matter is set for 3/22/2018 at 1:30PM. The parties are directed to review the
procedures and requirements for this conference on Judge Ellis' web site and to submit the
required Initial Status Report by 3/15/2018.




Date: 1/29/2018                                      /s/ Sara L. Ellis, U.S. District Judge




 
